                  Case 8:15-cr-00063-JLS Document 63 Filed 10/28/15 Page 1 of 1 Page ID #:531
                                       LIST OF EXHIBITS AND WITNESSES
 Case Number            SACR 15-00063(A)-JLS                  Title        United States of America v. Todd Christian Hartman
     Judge              JOSEPHINE L. STATON
                                                                                                                                     October 28, 2015
 Dates of Trial
  or Hearing            October 27, 2015, October 28, 2015

 Court Reporters        Deborah Parker
  or Tape No.

 Deputy Clerks          Terry Guerrero

                  Attorney(s) for Plaintiff(s) / Petitioner(s)                                   Attorney(s) for Defendant(s) / Respondent(s)

 Anne Gannon, AUSA                                                                  Cuauhtemoc Ortega, DFPD
 Sandy Leal, AUSA                                                                   Andrea Jacobs, DFPD




     Plaintiff(s) or Petitioner(s)                Defendant(s) or
                                                  Respondent(s)
                                                                                         EXHIBIT DESCRIPTION / WITNESS                           Called By
  Ex. No.         Id.        Ev.        Ex. No.         Id.           Ev

                                                                               Tammy Loehrs - Sworn/Testified 10/27/15                          Govt.

                                       J            10/27/15     10/27/15 Excerpt of Exhibit B to the Supplemental Response
                                       K             10/27/15 10/27/15 Excerpt of Exhibit B to the Supplemental Response
                                                                               Curtis Klocke - Sworn/Testified 10/27/15                         Govt.
 2             10/27/15 10/28/1                                                Ariel photo of defendant's residence/surrounding area
 3             10/27/15 10/28/15                                               Photo of the front of defendant's residence
                                                                               Philip Mainolofi - Sworn/Testified 10/27/15                      Govt.
                                                                               Theresa Bard - Sworn/Testified 10/28/15                          Defense
                                                                               David Syvock - Sworn/Testified 10/28/15                          Defense
                                       I            10/28/15     10/28/15 CD Containing Video Clips 1-6 UNDER SEAL
                                       A            10/28/15     10/28/15 Personnel Assignments List
                                                                               Kim Speakman, Jr. - Sworn/Testified 10/28/15                     Defense
                                       F             10/28/15 10/28/15         Agent Speakman's Weapon Photo 2
                                       G            10/28/15     10/28/15 Agent Speakman's Weapon Photo 2
                                                                               Todd Hartman - Sworn/Testified 10/28/15
 4             10/28/15 10/28/15                                               DVD containing interview of defendant UNDER SEAL




G-65 (03/07)                                                  LIST OF EXHIBITS AND WITNESSES                                            Page        of
